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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

CECILIA PERRY, et al., on Behalf of All         )
Beneficiaries, Pursuant to §537.080, RSMo.,     )
                                                )
       Plaintiffs,                              )
v.                                              )      Cause No: 4:17-CV-00981-RLW
                                                )
THE CITY OF ST. LOUIS, et al.,                  )
                                                )
        Defendants.                             )

                             JOINT NOTICE OF SETTLEMENT

     COME NOW Plaintiffs Cecilia Perry, et al., and Defendants The City of St. Louis and

Jermanda Adams and hereby jointly notify the Court that they have reached a settlement in

principle of all claims against the City of St. Louis and Jermanda Adams in this case. The parties’

agreement, once finalized and executed, will require the dismissal with prejudice of all remaining

claims against the City of St. Louis and Jermanda Adams in this case.

        WHEREFORE Plaintiffs Cecilia Perry, et al., and Defendants The City of St. Louis and

Jermanda Adams jointly pray for an order from the Court staying this action in its entirety,

including but not limited to all rulings on all pending motions and all existing briefing and pre-

trial deadlines, until the parties finalize and execute their settlement agreement and the Court

approves it.



/s/ Andrew D. Wheaton                                /s/ Todd R. Nissenholtz
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Attorney for City of St. Louis Defendants
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on November 18, 2022, the foregoing was electronically filed with
the Clerk of the Court to be served by operation of the Court’s electronic filing system on
counsel of record for all parties to this action.

                                                    /s/ Todd R. Nissenholtz
